Case 2:05-CV-02457-SHI\/|-STA Document 4 Filed 08/31/05 Page 1 of 2 Page|D 3

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UNITED sTATEs DISTRICT couRT
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AARON J. COHN,
Plaintiff,
v. Cv. No. 05-2457-Ma
JAMES A. BALOGH and GAR'Y W. BECK.ER,
Individually and d/b/a Balogh Becker,
Ltd., DIANA THEOS, COLLECTCORP
CORPORATION, and CITIBANK (SOUTH
DAKOTA NA,

Defendants.

J'UDGMENT

Decision by Court. This action Came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance With the Order of Dismissal, docketed August 26, 2005.

APPROV;EJ]; la

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02457 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Jerry R. Givens

THE COHN LAW FIRM
291 Germantown Bend Cove
Cordova, TN 38018

Honorable Samuel Mays
US DISTRICT COURT

